Case 5:20-cv-00038-JSM-PRL Document 67 Filed 11/05/20 Page 1 of 2 PageID 530




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

SHABANA HUSSAIN, individually and
on behalf of all others similarly situated,

        Plaintiff,

v.                                                                Case No: 5:20-cv-38-Oc-30PRL

SULLIVAN BUICK-CADILLAC-GMC
TRUCK, INC., SYNERGY
MARKETING ADVISORS, INC. D/B/A
SYNERGY RESOURCE ADVISORS and
STRATICS NETWORKS, INC.,

        Defendants.


                                              ORDER
        Before the court is Defendant Synergy Marketing Advisors, Inc.’s expedited motion for

the postponement of its deposition (Doc. 62), which Defendant Sullivan Buick-Cadillac-GMC

Truck Inc. joined (Doc. 63). On November 3, 2020, the court held a hearing on the matter and at

the hearing the parties notified the court that they had come to the agreement that is reflected here.

        Accordingly, Synergy’s motion for postponement of its deposition is GRANTED to the

extent that the deposition of Synergy shall occur prior to November 25, 2020. Synergy shall

provide any call disposition logs obtained from Stratics Networks, Inc. on or before November 18,

2020. Additionally, Plaintiff’s motion to compel (Doc. 60) is GRANTED to the extent that

Synergy shall respond to written discovery and produce documents on or before November 13,

2020.

        DONE and ORDERED in Ocala, Florida on November 5, 2020.
Case 5:20-cv-00038-JSM-PRL Document 67 Filed 11/05/20 Page 2 of 2 PageID 531




Copies furnished to:

Counsel of Record
Unrepresented Parties




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